Case 2:18-cv-02911-NGG-RER Document 41-4 Filed 06/14/19 Page 1 of 4 PagelD #: 357

Stuart Zisholtz, Esq.

ZISHOLTZ & ZISHOLTZ, LLP

200 Garden City Plaza, Suite 408
Garden City, New York 11530
Tel: 516-741-2200

Fax: 516-746-1024
stugezzliy.com

Attorneys for Plaintiff

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

SHALOM S. MAIDENBAUM, Docket No. 2:18-cv-02911
{(NGG-RER)
Plainaff,

~against-

AARON FISCHMAN, NINA FISCHMAN,
LAWRENCE KATZ, THE LAW OFFICE
OF LAWRENCE KATZ, P.C., THE LAW
OFFICE OF LAWRENCE KATZ, ESQ.,
PLLC, and CHOSHEN ISRAEL GROUP,
LLC,

Defendants.
woe ano X

 

MEMORANDUM OF LAW

ZISHOLTZ & ZISHOLTZ, LLP
Attorneys for Plaintiff

Office and P.O. Address

200 Garden City Plaza, Suite 408
Garden City, New York 11530
516-741-2200
Case 2:18-cv-02911-NGG-RER Document 41-4 Filed 06/14/19 Page 2 of 4 PagelD #: 358

STATEMENT

This Memorandum of Law is submitted in support of plaintiff's application to amend the
Complaint pursuant to FRCP 15.

FACTS

The facts are clearly illustrated in the plamtiff's Affirmation in support of the Motion to
Amend the Complaint. The facts will not be repeated herein unless relevant to this
Memorandum of Law.

ARGUMENT
THE MOTION TO AMEND SHOULD BE GRANTED

Rule 15 of the Federal Rules of Civil Procedure provides that when a party seeks to
amend their pleading beyond the time period allowed for an amendment as a matter of course,
that party “may amend its pleading only with the opposing party’s written consent or the Court’s
leave.” (FRCP 15)

Thus, absent the opposing party’s consent, the rule requires parties seeking to amend
their pleadings to obtain the leave of the Court before doing so. The strong presumption under
FRCP 15 is in favor of allowing an amendment, stating that “the Court should freely give leave
when justice so requires.” (FRCP 15)

The Court granted plaintiff until May 10, 2019 to advise the Court whether the plaintiff
would file a Motion for Leave to Amend. By a letter dated May 10, 2019, the plaintiff advised

the Court that the plaintiff intended to file a motion to amend the compiaint. (Dkt. 37)
Case 2:18-cv-02911-NGG-RER Document 41-4 Filed 06/14/19 Page 3 of 4 PagelD #: 359

Although the decision whether to grant the plaintiff's motion to file an amended pleading
remains within the Court’s discretion, Zahra_v. Town of Southold, 48 F.3d 674, (2d Circuit
1995), an amendment should not be allowed where there has been bad faith or dilatory motives
or where the amendment would be futile, would cause undue delay or undue prejudice to the
opposing party. Foman v. Davis, 371 U.S. 178, 83S. Ct. 227, 9 L. Ed. 2d 222 (1962); McCarthy

v. Dun & Bradstreet Corp., 482 F.3d 84, (2d Circuit 2007); Burch v. Pioneer Credit Recovery

 

Inc,, 551 F.3d 122, (2"! Circuit 2008).

The party opposing the amendment bears the burden demonstrating good reason for
denial, Blaskiewicz v. County of Suffolk, 29 F. Supp. 2d. [34 (E.D.N.Y. 1998)

Courts may deny motions to amend where the proposed amendment would be futile as a
matter of law. The Court applies the same standards as that for a Motion to Dismiss under Rule
12(b)(6) when deciding whether to grant leave to amend. Konrad v. Epley, No. 12 CV 4021,
2013 US Dist. Lexis 16909] (E.D.N.Y. November 25, 2013). As such, a proposed amendment is
futile if it does not state a claim to relief that is plausible on its face. Ashcroft v. [gbal, 556 US
662, 1298S. Ct. 1937, 173 L. Ed. 2d 868 (2009).

In making this determination, courts accept all facts alleged by the moving party as true
and construe any ambiguities in favor of the moving party. Konrad _v. Epley, supra, Aetna
Casualty & Surety Company v. Anierg Concrete Company 404 F.3d. 566 (2d. Circuit. 2005).

Here, the plaintiff ts not adding any new claims against the defendants. This motion is not
submitted in bad faith and does not cause any undue delays. Defendants have not yet answered
the complaint, there have been no initial disclosures and discovery has not yet begun.

Nor can defendants claim that the proposed amendment prejudices them in any way. “In

determining what constitutes ‘prejudice,’ we generally consider whether the assertion of the new
& pre} & y
Case 2:18-cv-02911-NGG-RER Document 41-4 Filed 06/14/19 Page 4 of 4 PagelD #: 360

claim or defense would (i) require the opponent to expend significant additional resources to
conduct discovery and prepare for trial; (i) significantly delay the resolution of the dispute; or
(iii) prevent the plaintiff from bringing a timely action in another jurisdiction.” Monaghan v. New
York City Dept. of Corrections, 214 F.3d 275, 284 (2d Cir. 2000),
CONCLUSION
For the reasons set forth herein, the Motion to amend should be granted,

ZISHOLTZ & ZISHOLTZ, LLP

By: ___/s/_ Stuart $. Zisholtz
Stuart 8S. Zisholtz (7533)
Attorneys for Plaintiff
Office and P.O. Address
200 Garden City Plaza, Suite 408
Garden City, New York 11530
516-741-2200
